Case 2:10-md-02179-CJB-DPC Document 4081-1 Filed 09/21/11 Page1lof1

4195-21306

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG * MDL NO.: 2179
“DEEP WATER HORIZON?” IN THE *

GULF OF MEXICO, ON APRIL 20, 2010 * SECTION “J”
THIS DOCUMENT RELATES TO: * JUDGE BARBIER

Adams v. State of LA, Case No. 11-CV-1051 MAG. JUDGE SHUSHAN

Sa nha ate abs ate ate ote ote ote Fe ule ae ate ale ale ale alo ate aks ale ate afa ale ofa ate ate ote oly oleate ale cle ute we ats ate ala ate ate als ata ate ats abe aba te ate wt ote ade oF ole le ate ola afe ate ale alo afe ale ate ate ofa aba ate cts ata ate Toute ote ole ale ale ele ate afi

ORDER

Considering the Motion to Substitute Counsel of Record filed by PENETON
CORPORATION;

IT IS ORDERED that Patrick C. Grace be withdrawn as counsel of record for PENETON
CORPORATION, and that David P. Salley, Jeffrey Farshad and the law firm of Salley, Hite,
Mercer & Resor, LLC be substituted as counsel of record for PENETON CORPORATION.

New Orleans, Louisiana, this day of , 2011.

CARL J. BARBIER
UNITED STATES DISTRICT JUDGE
